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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
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     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
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8                             UNITED STATES DISTRICT COURT
9                            EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,       )       No. 10-474 WBS
                                     )
11                  Plaintiff,       )       APPLICATION AND [PROPOSED] ORDER
                                     )       TO CONTINUE SENTENCING TO AUGUST
12        v.                         )       26, 2013, AT 9:30 A.M.
                                     )
13   DOUGLAS HEALD,                  )       Date: July 15, 2013
                                     )       Time: 9:30 a.m.
14                  Defendant.       )       Judge: Hon. William B. Shubb
                                     )
15   _______________________________ )
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17         This matter is before the Court on July 15, 2013, at 9:30 a.m.,
18   for sentencing.    Counsel for the defense requires a continuance to
19   August 26, 2013, at 9:30 a.m., to prepare for sentencing.           After
20   consultation with defense counsel, Assistant United States Attorney
21   Jared Dolan has no objection to the defense request to continue the
22   sentencing to August 26, 2013, at 9:30 a.m.
23         The modified disclosure schedule follows:
24   Reply Or Statement Of Non!Opposition:.        . . . . . . .     August 19, 2013;
25   Motion For Correction Of The Presentence Report
     Filed With The Court And Served On The Probation
26   Officer And Opposing Counsel No Later Than:. . . . .            August 12, 2013;
27
28   [PROPOSED] ORDER                         1                              10-474 WBS
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1    The Presentence Report Filed With The Court And
     Disclosed To Counsel No Later Than:. . . . . . . . . . August 5, 2013;
2
3    Counsel's Written Objections To The Presentence
     Report Delivered To The Probation Officer
4    And Opposing Counsel No Later Than:. . . . . . . . . .            July 29, 2013;
5          Good cause appearing therefor,
6          IT IS ORDERED that this matter be continued from July 15, 2013, at
7    9:30 a.m., to August 26, 2013, at 9:30 a.m.; and,
8          IT IS ORDERED that the parties adhere to the modified disclosure
9    schedule outlined above.
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11   Dated:   May 17, 2013
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28   [PROPOSED] ORDER                         2                              10-474 WBS
